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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

ERIC STEVENS, et al,

Plaintiffs,

VS. CIVIL ACTION NO. 2:18-CV-456

FORD MOTOR COMPANY,

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Defendant.

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ORDER ON MOTION TO TRANSFER VENUE

Plaintiffs brought this class action against Ford Motor Company (Ford), stating
state and federal causes of action related to Ford’s use of a Bosch-supplied high pressure
CP4 fuel injection pump in its diesel trucks. Before the Court is “Defendant Ford Motor
Company’s Motion to Transfer Venue Under 28 U.S.C. § 1404(a)” (D.E. 52). Ford filed
a supplement (D.E. 59); Plaintiffs filed a response (D.E. 67); and Ford replied (D.E. 69).
Ford asks the Court to transfer this case as a matter of convenience to the Eastern District
of Michigan. For the reasons set out below, the motion (D.E. 52) is DENIED.

STANDARD OF REVIEW

The venue statute, 28 U.S.C. § 1404(a), “empowers a district court to transfer ‘any
civil action’ to another district court if the transfer is warranted by the convenience of
parties and witnesses and promotes the interest of justice.” Van Dusen v. Barrack, 376
US. 612, 616 (1964) (quoting § 1404(a)). The analysis begins by determining whether

the action could have been brought in the transferee court in the first instance. 28 U.S.C.

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§ 1404(a). There is no dispute that this case could have been filed in the Eastern District
of Michigan, where Ford has its principal place of business.

The movant bears the burden of showing that the alternative forum is more
appropriate for the action. See In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (Sth Cir.
2008) [hereinafter Volkswagen II| (en banc). To overcome the plaintiffs choice of
venue, the movant must show good cause for the transfer, which exists when the
transferee venue is clearly more convenient than the plaintiff's chosen venue. Jd.

A. Ford is Not Entitled to a Lesser Burden of Proof

_ Ford argues that this statement of its burden should be modified with a lower
threshold because, as a large corporate defendant that is subject to multiple venues, it is
vulnerable to abusive or harassing venue choices. For this proposition, Ford cites
Volkswagen II. While Volkswagen IT recognized that vulnerability created by the venue
statute, it also noted that Congress had tempered the effects of that vulnerability with the
passage of § 1404(a), reducing the burden that previously applied to corporations when
they ‘had to seek dismissals, rather than transfers, for forum non conveniens. 545 F.3d at
313. By stating the burden as “good cause” (showing the transferee venue “clearly more
convenient”), the appropriate balance of interests had been struck. Jd.

Ford also cites In re Horseshoe Entertainment, 337 F.3d 429, 434 (5th Cir. 2003),
which states that a plaintiff's choice of venue, by itself, is neither conclusive nor
determinative. There, the choice of venue was contrary to most of the issues ordinarily

considered in a § 1404(a) analysis. In that employment discrimination case, the

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plaintiff's residence, workplace, and employment records were all in the requested
transferee district, yet the trial court gave them no weight. Instead, the trial court
considered extraneous issues, such as location of counsel and vague suggestions of delay
or prejudice as weighing against transfer.

As the Fifth Circuit observed, the trial court had given decisive weight to the
plaintiff's choice of venue, contrary to a proper weighing of recognized factors. The
court declared that “it is clear under Fifth Circuit precedent that the plaintiff's choice of
forum is clearly a factor to be considered but in and of itself it is neither conclusive nor
determinative.” Jd. Consequently, the Fifth Circuit issued mandamus relief to transfer
the case to the district where the plaintiff resided, where she worked, and where the
employment records were kept. Id. at 435.

While these cases offer cautionary tales, there is no suggestion here that Plaintiffs’
choice of a Texas venue was abusive or contrary to standard venue considerations. Nor
does this Court consider Plaintiffs’ venue choice as determinative in isolation. Rather,
the Court engages in a full analysis of the arpuments pertinent to the familiar factors
considered when evaluating a § 1404(a) request. Ford must show that the factors clearly
weigh in favor of transfer to the Eastern District of Michigan. Otherwise, the Court is
simply shifting the inconvenience from one party to the other, which is not the purpose of
the venue transfer statute. Scheidt v. Klein, 956 F.2d 963, 966 (10th Cir. 1992); Dupre v.
Spanier Marine Corp., 810 F. Supp. 823, 826 (S.D. Tex. 1993). The standard burden of

proof applies here.

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B. Plaintiffs’ Choice of Venue is Not Entitled to Special Weight

Plaintiffs argue that their choice of forum is entitled to great weight because it is
their home state. Cont'l Airlines, Inc. v. Am. Airlines, Inc., 805 F. Supp. 1392, 1396 (S.D.
Tex. 1992). Yet Ford responds that the home forum is less weighty in a putative class
action due to the competing interests of other potential plaintiffs. Kervin v. Supreme
Serv. & Specialty Co., Inc., 2:15-CV-102, 2015 WL 1540157, at *1 (S.D. Tex. Apr. 7,
2015). The Court notes that Plaintiffs’ choice of forum is not a separate factor when
balancing venue-related interests. Vassallo v. Goodman Networks, Inc., 5:14-CV-743-
DAE, 2015 WL 502313, at *2 (W.D. Tex. Feb. 5, 2015). All things considered, its
significance here is adequately accounted for in the ordinary burden of proof. The Court
requires that the factors to be weighed, discussed below, must show good cause for the
transfer—that the transferee forum is clearly more convenient. No more and no less
weight is accorded to Plaintiffs’ choice of forum in this case.

C. The Relevant Factors for Consideration

Courts consider various private and public interest factors in determining whether
a transfer is appropriate. Id. The private interest factors include: “(1) the relative ease of
access to sources of proof; (2) the availability of compulsory process to secure the
attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4) all other
practical problems that make trial of a case easy, expeditious, and inexpensive.” Jn re
Volkswagen AG, 371 F.3d 201, 203 (Sth Cir. 2004) [hereinafter Volkswagen I (citing
Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 n.6 (1981)). The public interest factors

include: “(1) the administrative difficulties flowing from court congestion; (2) the local
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interest in having localized interests decided at home; (3) the familiarity of the forum
with the law that will govern the case; and (4) the avoidance of unnecessary problems of
conflict of laws [or in] the application of foreign law.” Volkswagen IT, 545 F.3d at 315
(quoting Volkswagen I, 371 F.3d at 203). Each will be addressed below.
VENUE HISTORY
Plaintiffs’ legal team has filed four similar cases against Ford, complaining of the —
CP4 fuel pump:

(1) A putative California class action, Farlow v. Ford Motor Co., No.
3:18-cv-6967 (N.D. Cal., filed November 16, 2018);

(2) A putative Florida class action, Nunez v. Ford Motor Co., No. 1:18-
cv-25211 (S.D. Fla., filed December 12, 2018);

(3) This putative Texas class action (filed December 20, 2018); and

(4) A putative nationwide class action, Droesser v. Ford Motor Co., No.
5:19-cv-12365 (E.D. Mich., filed August 9, 2019).

On August 21, 2019, Plaintiffs in all four cases, together with plaintiffs in five other
cases! involving the CP4 fuel pump, sought transfer under 28 U.S.C. § 1407 to the
Northern District of California or, alternatively, the Eastern District of Michigan for
coordinated or consolidated pretrial proceedings. JPML No. 2919, D.E. 1. The same
legal team also represents the plaintiffs in those five other cases.

The Judicial Panel on Multidistrict Litigation (JPML) denied the transfers, reciting
three reasons. First was the number of cases. Because the cases are few and plaintiffs

share the same counsel, the risk of redundant discovery and inconsistent class

 

1 Click v. General Motors LLC, No. 2:18-cv-455 (S.D. Tex.); Berry v. FCA US LEC, No. 2:19-cv-023 (S.D. Tex);
In re: General Motors LLC CP4 Fuel Pump Litigation, No. 4:18-cv-7054 (N.D. Cal); Ginebra v. General Motors
LLC, No. 1:18-ev-25209 (S.D. Fla); Chapman v. General Motors LLC, 2:19-cv-112333 (E.D. Mich).

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certification rulings was low. Second, the cases present individualized issues. Those
included the manner in which the alleged defect manifested; the knowledge and decision-
making of the three different manufacturers sued in the nine cases; and the marketing to,
and decisions of, the Plaintiffs when purchasing or leasing the vehicles. Third, the
proposed MDL included cases against three automakers, highlighting the difficulties of
exposing confidential information between competitors and protecting trade secrets.
Injecting protective measures might prolong rather than streamline pretrial proceedings.
The JPML also denied the request to create MDLs for each defendant, indicating that the
first two reasons counseled against any § 1407 transfer for MDL treatment.

In the JPML, Ford had opposed the § 1407 transfer for pretrial purposes, arguing
that a § 1404 transfer to the Eastern District of Michigan for all purposes was preferable.
JPML 2919, D.E. 19. In fact, Ford suggests that the JPML decision not to consolidate the
cases for pretrial purposes does not signal that the referral to a single judge is contra-
indicated. Rather, it is consistent with a general JPML preference for § 1404 transfers.
D.E. 52, p. 6, 13, 16 (citing In re Gerber Probiotics Prods. Mktg. & Sales Practices
Litig., 899 F. Supp. 2d 1378, 1380 (J.P.M.L. 2012).

But Gerber’s analysis does not fit Ford’s position. In Gerber, the JPML suggested
that a § 1404(a) transfer is superior to a § 1407 MDL action when the inevitable remand
to the original court will require additional motion practice and transferor courts spending
time refamiliarizing themselves with the action. 899 F. Supp. 2d at 1380. Those were
not the reasons the JPML asserted for denying the MDL in this case. This concern does

not advance the § 1404(a) transfer analysis when the JPML denies the MDL request and
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the cases stay with their original courts. Under those circumstances, while each court
may have to address similar motions, they are not duplicating efforts of the JPML.

At the same time the JPML touted § 1404(a) transfers as a better alternative to
MDLs, the Gerber opinion suggests that § 1404(a) is not the only preferable solution.
Another is “cooperation and coordination among the parties and the various transferor
courts.” Jd. These parties have indicated that they have agreed to such cooperative
efforts. Therefore, nothing in the Gerber opinion makes a § 1404(a) transfer the obvious
choice here.

Ford now plays back Plait § 1407 pretrial transfer arguments to support its
§ 1404(a) full-transfer request. In response, Plaintiffs emphasize the difference between
(a) their request for a voluntary § 1407 MDL transfer for pretrial purposes in the spirit of
cooperation, and (b) the grievous involuntary loss of their choice of venue for trial
purposes under a § 1404 transfer. And, as mentioned, they note that the parties are
currently cooperating on consolidating the discovery proceedings without the benefit of
the MDL, such that the efficiency they sought through § 1407 has been achieved,
undercutting the need for any transfer.

These Plaintiffs have demonstrated a clear preference for their Texas trial venue
for this case. However, since the JPML decision, Plaintiffs in the Farlow (California)
and Nunez (Florida) actions have consented to § 1404 transfers of those cases to the
Eastern District of Michigan, alongside Droesser (nationwide class). Plaintiffs
distinguish this case from the others by representing that only this Court has made

discovery-related rulings, successfully advancing this case toward trial without any
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logistical difficulties. In response, Ford notes that the cooperative discovery agreement
means that all of the cases are equally advanced in discovery. Moreover, Ford observes
that Plaintiffs’ failure to comply with the class certification deadlines has likely forfeited
the current trial setting in this case.
DISCUSSION

With this procedural backdrop and overview of the positions, the Court evaluates

the factors to be considered under § 1404(a).
A. Private Interest Factors

1. The relative ease of access to sources of proof

There is no question that the parties will need to exchange large quantities of
documents and other physical evidence currently located at Ford’s place of business in
Michigan. However, technological advancements have reduced some of the burdens
associated with physical evidence. Sarmiento v. Producer’s Gin of Waterproof, Inc., 439
F, Supp. 2d 725, 732 (S.D. Tex. 2006). In fact, Plaintiffs report that Ford has already
produced approximately 36,500 documents electronically. And there is no evidence that
additional document production cannot similarly be produced with ease through
technology. Yet according to the Fifth Circuit, “That access to some sources of proof
presents a lesser inconvenience now than it might have absent recent developments does
not render this factor superfluous.” Volkswagen II, 545 F.3d at 316.

The evidence and arguments regarding specific sources of proof and its mobility
are sparse. Just as Ford may have CP4 pumps, engine models, and other design materials

that are not scannable documents in Michigan, Plaintiffs may have a vehicle, non-party
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sources related to the purchase and servicing of the vehicles, and damages evidence in
Texas. And while Ford argues that discovery in product liability cases is heavily
weighted with respect to liability issues as opposed to damages issues,” it is clear that the
parties have agreed to conduct much of that discovery in Michigan, eliminating a large
portion of the need for transport.

Ford argues that a large number of witnesses will be Ford employees located in
Dearborn, Michigan—in the Eastern District of Michigan. It further suggests that while
many witnesses are its employees, subject to its control, many may have likely already
left Ford’s employ, given that the design, manufacturing, and marketing dates of the
model years at issue were long ago. It further speculates that current employees may
leave Ford’s employ for a number of reasons, such as retirement or new jobs.

There are two problems with these arguments. First, Plaintiffs have conducted
three depositions to date of Ford corporate representatives, in Detroit, by video. And the
parties’ protective order expressly contemplates coordination of discovery across the
related actions, including Nunez, Farlow, and Droesser, all of which are or will soon be
pending in the Eastern District of Michigan, D.E. 41, p. 7; 69-3. Second, without
evidence of specific witnesses, this Court does not have evidence of the parties’

respective sources of proof. “The movant must specifically identify the key witnesses

 

2 Ford cites Brown v. Exactech, Inc., 4:17-CV-00698-O, 2017 WL 6756669, at *2 (N.D. Tex. Dec. 8, 2017), report
and recommendation adopted, 4:17-CV-00698-O, 2017 WL 6729485 (N.D. Tex. Dec. 28, 2017). While the opinion
states that the majority of discovery in that product liability case will be at the manufacturer’s place of business and
that the liability discovery will overshadow the damages discovery, it does not suggest that this is always the case in
product liability cases and does not purport to recite a general rule.

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and outline the substance of their testimony.” Bevil v. Smit Americas, Inc., 883 F. Supp.
168, 170 (S.D. Tex. 1995). Ford has not carried its burden of proof on this matter.
The Court FINDS that the first private factor is neutral.

2. The availability of compulsory process to secure the attendance of
witnesses

Ford suggests that a number of its employees will likely be witnesses. Current
employees do not carry much weight in the transfer analysis because the employer
controls them and will be able to compel their testimony at trial. Cont’l Airlines, 805 F.
Supp. at 1397. Otherwise, Ford has failed to identify key non-party witnesses (while
speculating as to both former employees and Bosch witnesses) and has not demonstrated
that they are within the subpoena power of the Eastern District of Michigan. Bevil,
supra. The fact that Bosch headquarters are located only. 25 miles from Detroit,
Michigan, also within the Eastern District of Michigan, does not aid the analysis when
their identity and the subject matter of their testimony is unknown. Bevil, supra.

Ford also complains that the dealers who sold and serviced Plaintiffs’ vehicles—
even those located in Texas—are all outside of this Court’s subpoena range. But this
Court can enforce subpoenas throughout Texas. Fed. R. Civ. P. 45(c)(1)(B) (allowing
district courts to subpoena witnesses for trial throughout the state where the court sits so
long as doing so would not require the witness to incur substantial expense); NFC Tech.,
LLC v. HTC Am., 2:13-CV-01058-JRG, 2014 WL 3834959, at *3 (E.D. Tex. Aug. 1,
2014). On the other hand, both Plaintiffs and Ford have identified a number of specific

witnesses in Texas that they intend to call or who have been subpoenaed for discovery

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and who are subject to this Court's subpoena power. Those Texas witnesses would not
be subject to the subpoena powér of the Eastern District of Michigan.

Neither party has identified any particular witnesses, other than named Plaintiffs,
who would be testifying at trial. Without such identification, together with information .
as to where they reside, this Court cannot base a transfer decision on that argument. And
even though non-party witnesses are entitled to greater deference than party witnesses,
neither party has identified what non-party witnesses will be required for trial. See
generally, Neutron Depot, LLC y. Bankrate, Inc., 2:15-CV-101, 2016 WL 6246507, at *3 .
(S.D. Tex. Oct. 26, 2016).

The Court FINDS that the second private interest factor weighs slightly against
transfer of this action.

3. The cost of attendance for willing witnesses

Ford argues that Detroit offers a much more convenient airport for those witnesses
who have to travel. It claims that the number of witnesses, as yet unidentified, who are
already in Michigan far outweigh the number in Texas. And it points out that the named
Plaintiffs already indicated a willingness to travel to Michigan for purposes of this case in
connection with the proposed MDL and any certification hearing that would have been
held. Plaintiffs do not controvert these representations.

The Court FINDS that the third private interest factor weighs slightly in favor of

granting transfer to the Eastern District of Michigan.

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4. All other practical problems that make trial of a case
easy, expeditious, and inexpensive.

Under this factor, Ford points to the fact that Plaintiffs’ counsel filed the Droesser
case in the Eastern District of Michigan making nearly identical claims on behalf of a
putative nationwide class that, if certified, would subsume the putative Texas class. “To
permit a situation in which two cases involving precisely the same issues are
simultaneously pending in different District Courts leads to the wastefulness of time,
energy and money that § 1404(a) was designed to prevent.” Cont'l Grain Co. v. The
FBL-585, 364 U.S. 19, 26 (1960).? Indeed, Ford points out that this judicial economy is
precisely what Plaintiffs cite as.a reason to certify a nationwide class in the Droesser
case. And Plaintiffs’ interest in an MDL and the parties’ agreement to coordinate
discovery indicate that referring the issues to a single judge offers untold efficiencies.

Yet the JPML disagreed. It looked at the claims and issues in each of these cases
and held that the differences between individual claims show that these are not identical
cases and the efficiencies of joint administration were somewhat illusory. Plaintiffs
further respond that discovery and other pretrial proceedings, including briefing the Court
on the class issues, have advanced significantly in this case and that the efficiency that
this presents for these Plaintiffs will be lost if the case is transferred. Oasis Research,
LLC v. Go Daddy.com, Inc., 4:12-CV-528, 2012 WL 3600795, at *5 (E.D. Tex. Aug. 21,

2012).

 

3 This case was superseded by statute on other grounds, as observed in Ross v. Colorado Outward Bound School
Inc., 822 F.2d 1524 (10th Cir. 1987), addressing transfers for lack of jurisdiction under 28 U.S.C. § 1631.

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Ford did not file its motion to transfer until a week after Plaintiffs initiated their
MDL request, which was four months after Ford filed its motion to dismiss. In addition
to the pending work on the motion to dismiss, by the time the motion to transfer was
filed, this Court had held four hearings addressing class certification and discovery
issues. Any efficiency presented by this work will be lost in the event of transfer. See
generally, Salazar v. HTC Corp., 2:16-CV-01096, 2017 WL 8943155, at *6 (E.D. Tex.
Oct. 19, 2017). While Ford points out that the parties have agreed to apply the products
of discovery across the cases, thus equalizing the state of discovery across the board,
Ford does not address the efficiencies of the Court’s familiarity with the issues in the case
that comes from briefing, hearings, and status conferences. There is no evidence that any
such arguments have been heard by any other court.

Ford argues that some of the arguments Plaintiffs raise will be moot, based on
changes they anticipate in Plaintiffs’ case: the filing of an amended pleading and the
dismissal of Plaintiff Stevens. However, the evidence to support those representations
only includes email statements from Ford representatives, not Plaintiffs. D.E. 69-1, 69-4.
Any such future change in this case that is within Plaintiffs’ strategic purview is mere
speculation and cannot support a decision on transfer. at this time. And even if the motion
to dismiss becomes moot, this Court has been exposed to some of the issues presented by
the allegations and defenses, which familiarity is not lost simply because there is a
change in procedure. Nothing suggests that the basic allegations regarding Ford’s
conduct with respect to the CP4 pump and theories for recovery will materially change

with any amended pleading.
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The Court FINDS that the fourth private interest factor is neutral.
B. Public Interest Factors

1. The administrative difficulties flowing from court congestion

Ford argues that the Eastern District of Michigan docket is lighter than that of the
Southern District of Texas. D-E. 52-3. Plaintiffs argue that the same statistical profile
shows that the Southern District of Texas has a faster file-to-disposition rate, which is a
relevant consideration. Dupre v. Spanier Marine Corp., 810 F. Supp. 823, 828 (S.D. Tex.
1993).

' The Court FINDS that the first public interest factor is neutral.

2. The local interest in having localized interests decided at home

Because this case involves a product sold nationwide, Ford interprets the location
of the alleged harm as the Eastern District of Michigan where Ford engaged in the
product design, manufacturing, and marketing of the allegedly defective product. For
this proposition, Ford cites All Voice Developments US, LLC v. Microsoft Corp., 6:09-
CV-366, 2010 WL 11468302, at *4 (E.D. Tex. Apr. 8, 2010) and Wingard v. Ford, 5:14-
CV-68, 2014 WL 12672183, at *5 (E.D. Tex. Dec. 18, 2014). These cases do not negate
Plaintiffs’ localized interests here.

All Voice Developments was a patent infringement case. “In patent cases, when a
defendant sells products all over the country, no specific venue has a dominant interest in
resolving the issue of patent infringement.” 2010 WL 11468302, at *4. However, the

opinion conceded that both parties continued to have an interest in having the dispute

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resolved in their respective home states. So the All Voice Development court determined
that the factor was neutral.

On this issue, the All Voice Development opinion cited In re TS Tech USA Corp.,
551 F.3d 1315, 1321 (Fed. Cir. 2008), which was also a patent infringement case. In 7S
Tech, however, the patent owner filed in a forum that had no relationship to the parties or
the allegations, other than the fact that some of the products were sold there. The Federal
Circuit, before deciding to transfer to the defendant’s home district, expressly noted that
no evidence or witnesses were located in the forum state and so the factor favored
transfer.

The same was true in Wingard, which was also a patent infringement case. In
Wingard, the issue was whether the case belonged in the Texarkana Division of the
Eastern District of Texas or should be transferred to its Beaumont Division. Plaintiffs
held no presence in either division of the Eastern District of Texas. With no localized
interest favoring plaintiffs in either the transferor or transferee division, the court
considered that factor to favor transfer to the Beaumont Division, where the defendant’s
headquarters were located.

Here, however, the allegations go beyond design and manufacture issues and
involve marketing and other allegedly fraudulent representations in this state,
manifestation of defects in this state, and service of the vehicles in this state, along with

plaintiffs, evidence, and witnesses located here.* Plaintiffs also note that Texas

 

4 Plaintiffs argue that the place of the alleged wrong is where the trucks were sold and the defects manifested,

citing Sun v. King Services, Inc., CIV.A. G-06-351, 2006 WL 2248473, at *3 (S.D. Tex. Aug. 3, 2006) (place of
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consumers command a disproportionately high market share of pickup truck sales. D.E.
67, p. 2, n.4. As Plaintiffs argue, Texas citizens who sustained damages in Texas and
seek to represent a Texas class have expressed a localized interest to offset the interest of
Ford in having the case decided in the district of its headquarters.

The Court FINDS that the second public interest factor is neutral.

3. The familiarity of the forum with the law that will govern the case

The Court is confident that a court in the Eastern District of Michigan is
competent to adjudicate this case, even to the extent that it involves Texas law. At the
same time, because this Court sits in Texas, this Court is more familiar with Texas law
relating to product liability, fraud, deceptive trade practices, unjust enrichment, and
breach of warranty—the state law claims raised here. See generally, Am. Gen. Life Ins.
Co. v. Rasche, 273 F.R.D. 391, 398 (S.D. Tex. 2011).

~ The Court FINDS that the third public factor weighs slightly against transfer of

this action.

4. The avoidance of conflict of laws or applying foreign law

Ford argues that there are no known conflicts of laws and that this factor is neutral.
Plaintiffs have not expressed a contrary position.

The Court FINDS that the fourth public interest factor is neutral.

 

alleged wrong was where collision occurred). However, Sun appears to be a negligence rather than product liability
case and thus it contributes little to the analysis of the location of the alleged wrong here.

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CONCLUSION
For the reasons set out above, the court FINDS that the third private interest factor
weighs slightly in favor of transfer. The second private interest factor and the third
public interest factor weigh slightly against transfer. The remaining factors are neutral.
Therefore, Ford has not sustained its burden to show good cause for transfer of this
action. The Eastern District of Michigan is not clearly more convenient. The motion to

transfer venue (D.E. 52) is DENIED.

ORDERED this 17th day of March, 2020.

    

 
  

      

NEMA GONZALE
UNITED STATES DISTRICT JUDGE

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